Case 19-11617   Doc 12-1   Filed 05/03/19 Entered 05/03/19 10:00:34   Desc Exhibit
                              Mortgage Page 1 of 18
Case 19-11617   Doc 12-1   Filed 05/03/19 Entered 05/03/19 10:00:34   Desc Exhibit
                              Mortgage Page 2 of 18
Case 19-11617   Doc 12-1   Filed 05/03/19 Entered 05/03/19 10:00:34   Desc Exhibit
                              Mortgage Page 3 of 18
Case 19-11617   Doc 12-1   Filed 05/03/19 Entered 05/03/19 10:00:34   Desc Exhibit
                              Mortgage Page 4 of 18
Case 19-11617   Doc 12-1   Filed 05/03/19 Entered 05/03/19 10:00:34   Desc Exhibit
                              Mortgage Page 5 of 18
Case 19-11617   Doc 12-1   Filed 05/03/19 Entered 05/03/19 10:00:34   Desc Exhibit
                              Mortgage Page 6 of 18
Case 19-11617   Doc 12-1   Filed 05/03/19 Entered 05/03/19 10:00:34   Desc Exhibit
                              Mortgage Page 7 of 18
Case 19-11617   Doc 12-1   Filed 05/03/19 Entered 05/03/19 10:00:34   Desc Exhibit
                              Mortgage Page 8 of 18
Case 19-11617   Doc 12-1   Filed 05/03/19 Entered 05/03/19 10:00:34   Desc Exhibit
                              Mortgage Page 9 of 18
Case 19-11617   Doc 12-1   Filed 05/03/19 Entered 05/03/19 10:00:34   Desc Exhibit
                             Mortgage Page 10 of 18
Case 19-11617   Doc 12-1   Filed 05/03/19 Entered 05/03/19 10:00:34   Desc Exhibit
                             Mortgage Page 11 of 18
Case 19-11617   Doc 12-1   Filed 05/03/19 Entered 05/03/19 10:00:34   Desc Exhibit
                             Mortgage Page 12 of 18
Case 19-11617   Doc 12-1   Filed 05/03/19 Entered 05/03/19 10:00:34   Desc Exhibit
                             Mortgage Page 13 of 18
Case 19-11617   Doc 12-1   Filed 05/03/19 Entered 05/03/19 10:00:34   Desc Exhibit
                             Mortgage Page 14 of 18
Case 19-11617   Doc 12-1   Filed 05/03/19 Entered 05/03/19 10:00:34   Desc Exhibit
                             Mortgage Page 15 of 18
Case 19-11617   Doc 12-1   Filed 05/03/19 Entered 05/03/19 10:00:34   Desc Exhibit
                             Mortgage Page 16 of 18
Case 19-11617   Doc 12-1   Filed 05/03/19 Entered 05/03/19 10:00:34   Desc Exhibit
                             Mortgage Page 17 of 18
Case 19-11617   Doc 12-1   Filed 05/03/19 Entered 05/03/19 10:00:34   Desc Exhibit
                             Mortgage Page 18 of 18
